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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


NO SPILL INC.,                                )
                                              )
                  Plaintiff,                  )
                                              )
v.                                            )            Case No. 18-cv-2681-JAR-KGG
                                              )
SCEPTER CANADA, INC.,                         )
                                              )
       and                                    )
                                              )
SCEPTER MANUFACTURING LLC,                    )
                                              )
                  Defendants.                 )
                                              )



                         EXHIBITS INDEX
                 DEFENDANTS’ MOTION TO STRIKE
  DEFENDANTS’ MOTION TO STRIKE PLAINTIFF NO SPILL INC.’S AMENDED
 INFRINGEMENT CONTENTIONS AND RELATED DISCLOSURES FOR FAILING
             TO COMPLY WITH D. KAN. PAT. R. 3.5(b), AND
           DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES

 Exhibit     Document



 1           October 26, 2020, Declaration of Glen Stevick in Support of Defendants’
             Motion to Strike Plaintiff No Spill, Inc.’s Amended Infringement Contentions
             and Related Disclosures for Failing to Comply with D. Kan. Pat. R. 3.5(b) and
             Defendants’ Motion for Attorneys’ Fees

 2           Curriculum Vitae of Glen Stevick

 3           June 18, 2015, Declaration of Thomas M. Cray Pursuant to 37 C.F.R. § 1.132

 4           May 19, 2020, Exhibit A-1 to Plaintiff No Spill, Inc.’s Initial Infringement
             Contentions

 5           June 25, 2020, No Spill, Inc.’s Responses to Scepter Canada, Inc.’s Second Set
             of Interrogatories
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Exhibit    Document

6          September 8, 2020, No Spill, Inc.’s Preliminary Claim Constructions and
           Identification of Extrinsic Evidence, which was filed with the Court on
           September 22, 2020 (Dkt. 139-1)

7          September 25, 2020, Declaration of Glen Stevick in Support of Defendants’
           Proposed Claim Constructions of U.S. Patent Nos. 9,174,075 and 10,029, 132

8          October 1, 2020, Exhibit A-1 to Plaintiff No Spill, Inc.’s Supplemental
           Infringement Contentions

9          October 16, 2020, Responsive Declaration of Glen Stevick in Support of
           Defendants’ Proposed Claim Constructions of U.S. Patent Nos. 9,174,075 and
           10,029, 132

10         October 22, 2020, email from Michael Hartley to Holly Dyer

11         October 1, 2020 email from Bryce Langford to Holly Dyer

12         October 7, 2020 email from Michael Hartley to Holly Dyer

13         May 28, 2020 Letter from Lisa Nguyen to Douglas Dalgleish

14         October 8, 2020 email from Holly Dyer to Michael Hartley

15         June 11, 2020 Letter from Douglas Dalgleish to Lisa Nguyen

16         June 16, 2020 Letter from Lisa Nguyen to Douglas Dalgleish

17         June 19, 2020 Letter from Lisa Nguyen to Michael Hartley

18         July 22, 2020 Letter from Lesley Hamming to Michael Hartley

19         August 4, 2020 Letter from Lesley Hamming to Douglas Dalgleish

20         August 5, 2020 Letter from Lesley Hamming to Douglas Dalgleish

21         June 18, 2020 Letter from Michael Hartley to Lisa Nguyen

22         July 29, 2020 email from Lesley Hamming to Michael Hartley
